Case 2:20-cv-02245-PKH Document 21                 Filed 10/20/21 Page 1 of 1 PageID #: 1370




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION

ANGIE STEPHENS                                                                  PLAINTIFF

v.                                     No. 2:20-CV-02245

KILOLO KIJAKAZI, Acting Commissioner,
Social Security Administration                                                        DEFENDANT

                                              ORDER

       The Court has received a report and recommendation (Doc. 20) from Chief United States

Magistrate Judge Mark E. Ford. The Magistrate recommends that the matter be remanded to the

Social Security Administration for further administrative action. Though the parties have fourteen

(14) days to file objections to the report and recommendation, neither party disputes that this matter

should be remanded (Doc. 18).        After careful review, the Court finds that the report and

recommendation is proper, contains no clear error, and is ADOPTED IN ITS ENTIRETY.

       IT IS THEREFORE ORDERED that the decision of the Commissioner of the Social

Security Administration to deny benefits to Plaintiff is REVERSED and this matter is

REMANDED for further administrative action pursuant to sentence four of 42 U.S.C. § 405(g).

       Judgment will entered be accordingly.

       IT IS SO ORDERED this 20th day of October, 2021.


                                                              /s/P. K. Holmes, III
                                                              P.K. HOLMES, III
                                                              U.S. DISTRICT JUDGE
